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                                                                                        United States District Court
                                                                                          Southern District of Texas

                                                                                             ENTERED
                                                                                         December 16, 2021
                            UNITED STATES DISTRICT COURT
                                                                                          Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

                                                  §
                                                  §
TINA STRAWN ET AL                                 §
                                                  § CIVIL ACTION NO. 4:20-cv-0296
VS.                                               §
                                                  §
HARRIS HEALTH SYSTEM                              §
                                                  §
                                                  §


                                 DOCKET CONTROL ORDER

 This case will be controlled by the following schedule.


                                           DEADLINES

 1.    TBD                  DEADLINE TO AMEND PLEADINGS Parties may amend
                            pleadings by this date without leave of court. If Plaintiff(s) file(s) an
                            Amended Complaint by this date, Defendant(s) may file a responsive
                            pleading in accordance with Fed. R. Civ. P. 15(a)(3). After expiration
                            of this deadline, a party seeking to amend pleadings must file a motion
                            for leave demonstrating both good cause and excusable neglect in
                            accordance with Fed. R. Civ. P. 6(b)(1)(B).

 2.    TBD                  DEADLINE TO ADD NEW PARTIES Unless a case has been
                            removed from state court, new parties may be added by this date
                            without leave of court. After expiration of this deadline, a party seeking
                            to add a new party must file a motion for leave demonstrating both good
                            cause and excusable neglect in accordance with Fed. R. Civ. P.
                            6(b)(1)(B). The attorney causing the addition of new parties will
                            provide copies of this order and all orders previously entered in the case
                            to new parties. Note: If a case has been removed from state court, a
                            motion for leave must be filed seeking a permission to add new parties.

 3.    1/20/2023            Identification of plaintiff's experts and production of experts' reports in
                            the form required by Fed. R. Civ. P. 26(a)(2)(B).

 4.    2/24/2023            Identification of defendant's experts and production of experts' reports
                            in the form required by Fed. R. Civ. P. 26(a)(2)(B).


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5.    4/21/2023           COMPLETION OF DISCOVERY Written discovery requests are
                          not timely if they are filed so close to this deadline that the recipient
                          would not be required under the Federal Rules of Civil Procedure to
                          respond until after the deadline.

6.    N/A                  LIMITS ON DISCOVERY

7.    4/28/2023            DISPOSITIVE MOTIONS Parties wishing to file dispositive motions
                           must still follow the pre-motion conference requirements set forth in
                           Section 6 of the local court procedures utilized by Judge Hanks and
                           Judge Edison.

8.   6/16/2023             ALL OTHER PRETRIAL MOTIONS

9.   8/4/2023             JOINT PRETRIAL ORDER AND MOTIONS IN LIMINE
                          Plaintiff is responsible for timely filing the complete joint pretrial
                          order. All information is to comply with the disclosure requirements
                          of Fed. R. Civ. P. 26(a)(3). All parties are directed to read the Court’s
                          Procedures regarding required trial documents and procedures.

10. 8/11/2023             DOCKET CALL is set at 3:00 p.m. Other than as set out in the
                          Court’s Procedures no pleading or document filed within seven days of
                          docket call will be considered by the Court. Any pending motions may
                          be ruled on at docket call, the case will be set for trial, and further
                          pretrial orders may be issued.

11. SEPT/OCT. 2023        JURY / BENCH TRIAL Case is subject to being called to trial on
                          short notice during this month.

                                        Estimated Trial Time: .

      Signed in Houston, Texas this 15th day of December 2021.




                                                    ___________________________________
                                                           ANDREW M. EDISON
                                                    UNITED STATES MAGISTRATE JUDGE




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